                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


GLENN BURTON, JR.                         Case No.: 07-cv-0303
            Plaintiff,
v
.
AMERICAN CYANAMID, et al,
            Defendants.
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RAVON OWENS                               Case No.: 07-cv-0441
         Plaintiff,
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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ERNEST GIBSON                             Case No.: 07-cv-0864
          Plaintiff,
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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BRIONN STOKES                             Case No.: 07-cv-0865
          Plaintiff,
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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CESAR SIFUENTES                           Case No.: 10-cv-0075
           Plaintiff,
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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MANIYA ALLEN, et al.,                                                 Case No.: 11-cv-0055
          Plaintiffs
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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DEZIREE VALOE, et al.,                                                Case No.: 11-cv-0425
          Plaintiffs
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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DIJONAE TRAMMELL, et al.,                                             Case No.: 2:14-cv-01423-LA
          Plaintiffs
v.

AMERICAN CYANAMID, et al.,
            Defendants.
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                                              ORDER


       Consistent with this Court’s Order of November 10, 2014, which is incorporated herein

by reference,

       IT IS ORDERED:

       NL Industries, Inc. may be and is hereby dismissed from these lawsuits, together with

any and all claims set forth against it in the pleadings, with prejudice, but without costs.

       Dated at Milwaukee, Wisconsin this 9th day of December, 2014.

                                                       s/ Lynn Adelman
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                                                       Honorable Lynn Adelman
                                                       District Judge
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